JOHN D. SULLIVAN                                                 FILED
Assistant U.S. Attorney
U.S. Attorney's Office
                                                                   MAY 17 2018
James F. Battin U.S. Courthouse                                    Clerk, U.S. Courts
                                                                   District Of Montana
2601 Second Ave. North, Suite 3200                                   em;ngs o;v;~on (
Billings, MT 59101
Phone: (406) 657-6101
FAX: (406) 657-6989
Email: John.Sullivan2@usdoj.gov

ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                        BILLINGS DIVISION


UNITED STATES OF AMERICA,                CR 18- 'l l -BLG- ~'PW

            Plaintiff,                   INDICTMENT

      vs.                                SECOND DEGREE MURDER
                                         Countl
                                         Title 18 U.S.C. §§ 1153(a) and 1111
ANDREW DAVID PLENTYHAWK,                 (Penalty: Life imprisonment, $250,000
                                         fine, and five years supervised release)
            Defendant.
                                         VOLUNTARY MANSLAUGHTER
                                         Title 18 U.S.C. §§ 1153(a) and 1112(a)
                                         Count II
                                         (Penalty: Fifteen years of imprisonment,
                                         $250,000 fine, and three years of supervised
                                         release)




THE GRAND JURY CHARGES:




                                     1
                                           COUNT!

            That on or about June 15, 2017, at Crow Agency, in Big Hom County, in the

      State and District of Montana, and within the exterior boundaries of the Crow

      Indian Reservation, being Indian country, the defendant, ANDREW DAVID

      PLENTYHAWK, an Indian person, unlawfully killed T.B.M. with malice

      aforethought, in violation of 18 U.S.C. §§ l 153(a) and 1111.

                                          COUNT II

            That on or about June 15, 2017, at Crow Agency, in Big Hom County, in the

      State and District of Montana, and within the exterior boundaries of the Crow

      Indian Reservation, being Indian country, the defendant, ANDREW DAVID

      PLENTYHAWK, an Indian person, unlawfully killed T.B.M. while in a sudden

      quarrel or heat of passion, and recklessly with extreme disregard for human life, in

      violation of 18 U.S.C. §§ l 153(a) and 1112(a).

            A TRUE BILL.
                                            Foreperson signature redacted. Original document filed under seal.




p~ ~p E. THAGGARD                                                 Ctirt;.\S-umm
                                                                              7 n
1J Cnrmna Chief Assistant U.S. Attorney                           Warrant:
                                                                              ---------
                                                                  Bail:
                                                2                         ----------
